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 6
 7
 8                                UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
10
11   CECIL SHAW,                                    ) No. 1:14-cv-00849-GSA
                                                    )
12                  Plaintiff,                      ) STIPULATION FOR DISMISSAL OF
                                                    ) ACTION; ORDER
13          vs.                                     )
                                                    )
14   BLACK BEAR DINER-TULARE L.P. dba               )
     BLACK BEAR DINER, et al.,                      )
15                                                  )
                                                    )
16                  Defendants.                     )
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                               STIPULATION FOR DISMISSAL OF ACTION; ORDER

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 1          IT IS HEREBY STIPULATED by and between Plaintiff Cecil Shaw and Defendants
 2   Black Bear Diner-Tulare, L.P. dba Black Bear Diner, Roger Elmerick, and Christine Elmerick,
 3   the parties to this action, by and through their respective counsel, that pursuant to Federal Rule
 4   of Civil Procedure 41(a)(1)(A)(ii), the above-captioned action be dismissed with prejudice in its
 5   entirety. Each party is to bear its own attorneys’ fees and costs.
 6   Date: January 23, 2015                        MOORE LAW FIRM, P.C.
 7                                                 /s/ Tanya E. Moore
 8                                                 Tanya E. Moore
                                                   Attorneys for Plaintiff
 9                                                 Cecil Shaw
10                                                 MULLEN & HENZELL L.L.P.
11
                                                   /s/ Rafael Gonzalez
12                                                 Rafael Gonzalez
                                                   Attorneys for Defendants
13                                                 Black Bear Diner-Tulare, L.P. dba Black Bear
14                                                 Diner, Roger Elmerick, and Christine Elmerick

15
                                                   ORDER
16
            The parties having so stipulated,
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            IT IS HEREBY ORDERED that this action be dismissed with prejudice in its entirety.
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     Each party shall bear its own attorney’s fees and costs.
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     IT IS SO ORDERED.
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22      Dated:     January 26, 2015                              /s/ Gary S. Austin
                                                      UNITED STATES MAGISTRATE JUDGE
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                            STIPULATION FOR DISMISSAL OF ACTION; ORDER

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